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                          EXHIBIT A

               United States Patent No. 10,046,241

                   OUTPUT PRODUCTION
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                                         111111 1111111111111111111111111111111111111111111111111111111111111
                                                                                                     USOI0046241Bl


(12)   United States Patent                                                   (10)   Patent No.:     US                  10,046,241 Bl
       Krosky et al.                                                          (45)   Date of Patent:                          Aug. 14,2018

(54)    OUTPUT PRODUCTION                                                         5,286,099 A    *     2/1994 Fujita ........................ B60T 7/22
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(76)    Inventors: Ronald Charles Krosky, Baltimore,                              5,366,376 A    *    1111994 Copperman .......... A63F 13/005
                                                                                                                                            273/148 B
                   MD (US); Brendan Edward Clark,
                                                                                  5,368,484 A    *    1111994 Copperman .......... A63F 13/005
                   Rocky River, OH (US)                                                                                                     273/148 B
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( *)    Notice:      Subject to any disclaimer, the term of this                                                                                34617
                     patent is extended or adjusted under 35                      5,607,308 A    *     3/1997 Copperman .......... A63F 13/005
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(21)    Appl. No.: 13/194,946                                                                                                                 348/121
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(22)    Filed:       Jui. 30, 2011                                                6,053,815 A    *     4/2000 Hara ....................... A63F 13/08
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                 Related U.S. Application Data                                    6,146,143 A    *    1112000 Huston                        G09B 9105
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(51)    Int. CI.                                                                                                                            273/148 B
        A63F 13/803                   (2014.01)                                                          (Continued)
(52)    U.S. CI.
        CPC .... A63F 13/803 (2014.09); A63F 230018017                                      OTHER PUBLICATIONS
                                                           (2013.01)
(58)    Field of Classification Search                                     ShaUll McInnis; Gran Turismo 5 Update-Dynamic Weather, Rally
                                                                           Courses, and Playing on Your Computer-PlayStation 3 Previews at
        CPC .... A63F 13/216; A63F 13/422; A63F 13/426;
                                                                           GameSpot; Sep. 16,2010; 5 pages; Gamespot.
                  A63F 13/57; A63F 13/573; A63F 13/577;
                       A63F 13/803; A63F 2300/8017; A63F                   Primary Examiner - Omkar Deodhar
                  13/55; A63F 13/56; A63F 2300/64; A63F
                                                                           Assistant Examiner - Matthew D. Hoel
                                                          2300/6692
        USPC ......................... 463/6, 30--32, 43, 42, 58-69
                                                                           (57)                         ABSTRACT
        See application file for complete search history.
                                                                           Systems, methods, and other embodiments associated with
(56)                     References Cited                                  output production are described. One example system com-
                                                                           prises an analysis component configured to analyze a data
                  U.S. PATENT DOCUMENTS                                    set to produce an evaluation result. The system also com-
                                                                           prises a production component configured to produce a
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                                                                           rendered output based, at least in part, on the evaluation
                                                                463/31
       4,500,868 A   *    211985 Tokitsu                  B60K 35/00       result, where the rendered output is stored in a computer-
                                                               180/282     readable medium.
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                                                               273/454                    20 Claims, 22 Drawing Sheets




                                                         100
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                       MAP DATA SET

                                      115




                         ANALYSIS
                        COMPONENT
                                     105

    100
          ~


                       PRODUCTION
                       COMPONENT
                                      110




                      RENDERED MAP

                                      120




                                                        FIG. I
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                          BASE MAP




                         ANALYSIS
                        COMPONENT
                                      105



    200~
                        PRODUCTION
                        COMPONENT
                                      110




                    SEARCH COMPONENT
                                      205




                       RENDERED MAP




                                                         FIG. 2
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                                           MAP DATA SET
                                                          ill.


                     300~


                                            ANALYSIS
                                           COMPONENT 105



                                           PRODUCTION
                                           COMPONENT 110




         REQUEST           ...   .         INTERACTION
                     320                    COMPONENT 305



                                           EVALUATION
                                           COMPONENT 310



                                             GATHER
                                           COMPONENT 315




                                          RENDERED MAP
                                                      120


                                                                 FIG. 3
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                            400

                                   MAP AREA




                                         410~

                                              RENDERED AREA




                         ~ •••••                              I
                        •••••••                               1
                       ~_ - - - - - - - - - - - __ I




                                                                   FIG. 4
     Case 1:21-cv-11477-IT Document 1-1 Filed 09/09/21 Page 8 of 41


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                          BASE MAP




                         ANALYSIS
                        COMPONENT
                                      105



    500~
                        PRODUCTION
                        COMPONENT
                                      110




                        ALTERATION
                        COMPONENT
                                      505




                       RENDERED MAP




                                                         FIG. 5
     Case 1:21-cv-11477-IT Document 1-1 Filed 09/09/21 Page 9 of 41


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      REAL WORLD                 REAL WORLD                      REAL WORLD
     INFORMATION                INFORMATION                     INFORMA TION
        SOURCE                     SOURCE                          SOURCE
               ill.                                  ~
                              L....-_----,.---~;;;;;;;;.....J
                                                                         ill




           ~~~/
                                 COLLECTION
                                 COMPONENT
                                                         605

          600~




                             RENDER COMPONENT




                             VIDEO GAME OUTPUT
                                                         ~




                                                                     FIG. 6
    Case 1:21-cv-11477-IT Document 1-1 Filed 09/09/21 Page 10 of 41


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      REAL WORLD                REAL WORLD             REAL WORLD
     INFORMA TION              INFORMATION            INFORMA TION
        SOURCE                    SOURCE                 SOURCE
              ill.                        filll                ill




                               COLLECTION
                               COMPONENT {i!!S,



                              IDENTlFICATlON
                                COMPONENT 1!!5.
          700~


                              APPROXIMATION
                                COMPONENT ill




                            RENDER COMPONENT
                                              ill




                            VIDEO GAME OUTPUT
                                              ~




                                                           FIG. 7
    Case 1:21-cv-11477-IT Document 1-1 Filed 09/09/21 Page 11 of 41


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                          CONTENT
                                     820
                                A


                                "


                        COLLECTION
                        COMPONENT 605



                         MONITOR
                        COMPONENT 805


    800
          ~              APPRAISAL
                        COMPONENT 810



                         DECISION
                        COMPONENT 815




                    RENDER COMPONENT
                                 610



                                A


                                "

                    VIDEO GAME OUTPUT
                                           630


                                                         FIG. 8
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      MAP          MAP          MAP             MAP        MAP
      DATA         DATA         DATA            DATA       DATA
         925          925          925             925        925


         ~\
                             ASSESSMENT
                             COMPONENT 905




           900\             DETERMINATION
                              COMPONENT ill



                               FILTER
                             COMPONENT 915



                               OUTPUT
                             COMPONENT    ill




                930\
                             MAP OUTPUT




                                                           FIG. 9
    Case 1:21-cv-11477-IT Document 1-1 Filed 09/09/21 Page 13 of 41


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            1025


                             REQUEST

                                       !l
                                  ,

                           OBTAINMENT
                           COMPONENT 1005
                                  .I

                                  ,
                             GATHER
     1000

            \              COMPONENT 1010
                                  .I

                                  ,
                           GENERATION
                           COMPONENT 1015
                                  .I

                                  ,
                            TRANSFER
                           COMPONENT 1020



                                  All
            1030
                                  ,ir


                              OUTPUT




                                                              FIG. 10
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           1125


                     MAP INFORMATION

                                     ~

                                 "


                        EXAMINATION
                         COMPONENT 1105
                                 A

                                 ,.
                       IDENTIFICATION
    1100

           \             COMPONENT 1110
                                 A

                                 ,
                         SEPARATION
                         COMPONENT 1115
                                 A

                                 ,
                        GENERATION
                        COMPONENT 1120



                                 .~
           1130
                                 1,
                             MAP




                                                          FIG. II
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           1215


                     MAP INFORMATION

                                 h.

                                 ,

                        EXAMINA TION
                         COMPONENT 1105



                       IDENTIFICATION
    1200

           \             COMPONENT 1110



                      APPROXIMATION
                        COMPONENT ll!!S.



                        COMPOSITION
                        COMPONENT 1210



                                 A
           1220
                                 H



                      OUTPUTTED MAP




                                                       FIG. 12
      Case 1:21-cv-11477-IT Document 1-1 Filed 09/09/21 Page 16 of 41


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                   1310



                   MAP INFORMATION




                      EXAMINATION
                       COMPONENT ~
                                !l
                                r
                    IDENTIFICA TION
   1300
                      COMPONENT 1110
                                                          1320
                                ~

                                r
                      COMPOSITION
                                                                 MAP
                       COMPONENT 1210
                                ~

                                r
                           DATABASE
                          COMPONENT J.l!!S.




          1315


                           DATABASE




                                                                 FIG. 13
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     1405            FIRST GAME CONSOLE
            ~
                         FIRST MAP
                 1                     14151




     1410          SECOND GAME CONSOLE
            ~
                        SECOND MAP
                 1                     14201




                                                       FIG. 14
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     1505

                RETAIN VIDEO GAME
                    CONTENT



     1510
                 CAUSE VIDEO GAME
                  CONTENT TO BE
                    AVAILABLE




                                                     FIG. 15
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                 1600\
      1605

             \        OBTAIN
                  INFORMATION SET


      1610

             \       EVALUATE
                  INFORMATION SET


      1615

             \     PRODUCE VIDEO
                   GAME CONTENT


      1505

             \    CAUSE VIDEO GAME
                   CONTENT TO BE
                     AVAILABLE


      1510

             \    CAUSE VIDEO GAME
                   CONTENT TO BE
                     AVAILABLE




                                                     FIG. 16
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                  1700\
    1705


                   PROCESSING MAPS


    1710
                            "
               DETERMINING DIFFERENCE
                   BETWEEN MAPS

    1715

               DETERMINING RESOLUTION
                   FOR DIFFERENCE

    1720
                            "
                CAUSING RESOLUTION TO
                     IMPLEMENT




                                                       FIG. 17
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                  1800\
       1805

                  COLLECT INFORMATION


       1810

                  ANALYZE INFORMATION


       1815

                    DETERMINE HOW TO
                        MAKE MAP


       1820

                  CAUSE MAP TO BE MADE




                                                     FIG. 18
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                                 1900~




           TOWN A                            TOWNE                    TOWNe

                    ...............................................
          1905~
                               SELECTED AREA


                    ...............................................



           TOWND                             TOWNE                    TOWNF




           TOWNG                             TOWNH                    TOWN I




                                                                          FIG. 19
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                           2000



                 NATION                   UNITED STATES




                  STATE                       OHIO




                  CITY                     CLEVELAND




              NEIGHBORHOOD                NOT SELECTED




                  TIME                       EVENING




                 TRAFFIC                    REAL-TIME




                WEATHER                    HURRICANE




                                                            FIG. 20
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                    2100~



     2105~                                2110~


      I TRANSMITTER       ~I-------1
                        I....           ....1   RECEIVER




                                                      FIG. 21
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       2200~


     2205                                 2225
            ~                                    ~
            MONITOR     ..            .          PROCESSOR


     2 210~                               2230~

        INPUT DEVICE    .-                 RANDOM ACCESS
                                              MEMORY

     2 215~                               2235~

        CONNECTIVE                               READ ONLY
           PORT                                   MEMORY

     2 220~                               2240~

         WIRELESS   •                 .      NONVOLA TILE
       COMMUNICATOR                           HARD DRIVE




                                                             FIG. 22
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                                                     US 10,046,241 Bl
                               1                                                                       2
                 OUTPUT PRODUCTION                                       alteration to the racing surface in accordance with the impact
                                                                         of the change in the temperature. The alteration can influ-
           CROSS REFERENCE TO RELATED                                    ence performance of a vehicle in the racing video game.
                  APPLICATIONS
                                                                                BRIEF DESCRIPTION OF THE FIGURES
   This application claims the benefit of U.S. provisional
application Ser. No. 611409,027 filed on Nov. 1,2010, which                 The accompanying drawings, which are incorporated in
is hereby wholly incorporated by reference.                              and constitute a part of the detailed description, illustrate
                                                                         various example systems, methods, and other example
                      BACKGROUND                                    10   embodiments of various innovative aspects. These drawings
                                                                         include:
   A user can playa video game on the video game console,                   FIG. 1 illustrates one embodiment of a system that
where the console outputs content onto a display. For                    includes an analysis component and a production compo-
example, the video game can be a management game played                  nent;
on a personal computer. The management game can enable              15      FIG. 2 illustrates one embodiment of a system that
a player to take control of an entity, such as a company. The            includes a search component along with the analysis com-
player can lead the company through different scenarios,                 ponent and the production component;
manage the company in an open world, compete against                        FIG. 3 illustrates one embodiment of a system that
other players, etc.                                                      includes an interaction component, evaluation component,
                                                                    20   and gather component, along with the analysis component
                         SUMMARY                                         and production component;
                                                                            FIG. 4 illustrates one embodiment of a map area;
   In one embodiment, a system, that is at least partially                  FIG. 5 illustrates one embodiment of a system that
hardware, comprises an identification component, a check                 includes an alteration component along with the analysis
component, a determination component, and a modification            25   component and the production component;
component. The identification component can be configured                   FIG. 6 illustrates one embodiment of a system that
to identify a racing area for a vehicle set with a tire set in a         includes a collection component and a render component;
racing video game. The check component can be configured                    FIG. 7 illustrates one embodiment of a system that
to determine an action set of the vehicle set that causes a              includes an identification component and an approximation
renmant of the tire set to be laid upon the racing area. The        30   component along with the collection component and the
determination component can be configured to determine                   render component;
where to place the remnant of the tire set on the racing area               FIG. 8 illustrates one embodiment of a system that
based, at least in part on the action set of the vehicle set. The        includes a monitor component, an appraisal component, and
modification component can be configured to make an                      a decision component in addition to the collection compo-
alteration to the racing area such that the remnant impacts         35   nent and the render component;
performance of the vehicle set.                                             FIG. 9 illustrates one embodiment of a system that
   In another embodiment, a system, that is at least partially           includes an assessment component, determination compo-
hardware, comprises an identification component configured               nent, filter component, and output component;
to identifY a racing surface of a racing circuit in a racing                FIG. 10 illustrates one embodiment of a system that
video game during a racing video game session. In this              40   includes an obtainment component, a gather component, a
embodiment, the system comprises a determination compo-                  generation component, and a transfer component;
nent configured to determine a first temperature for a first                FIG. 11 illustrates one embodiment of a system that
portion of the racing surface and a second temperature for a             includes an examination component, an identification com-
second portion of the racing surface. In this embodiment, the            ponent, a separation component, and a generation compo-
system also comprises a modification component configured           45   nent;
to cause the first portion of the racing surface to implement               FIG. 12 illustrates one embodiment of a system that
with the first temperature and the second portion of the                 includes the examination component, the identification com-
racing surface to implement with the second temperature.                 ponent, an approximation component, and a composition
The first temperature and the second temperature can be                  component;
different temperatures. The first portion of the racing surface     50      FIG. 13 illustrates one embodiment of a system that
and the second portion of the racing surface can be such that            includes the examination component, the identification com-
they do not overlap one another. The first portion of the                ponent, the composition component, and a database com-
racing surface being at the first temperature can causes a               ponent;
vehicle of the racing video game to have a first response to                FIG. 14 illustrates one embodiment of a network;
an action. The second portion of the racing surface being at        55      FIG. 15 illustrates one embodiment of a method that
the second temperature can cause the vehicle of the racing               includes retaining a video game content at a first location
video game to have a second response to the action. Due to               and causing the video game content to be available to a
the difference in temperature, the first response and the                second location;
second response can be not identical.                                       FIG. 16 illustrates one embodiment of a method that
   In yet another embodiment, a system, that is at least            60   includes retaining a video game content at a first location
partially hardware, comprises an identification component                and causing the video game content to be available to a
configured to identifY a change in a temperate of a racing               second location;
surface in a racing video game. In this embodiment, the                     FIG. 17 illustrates one embodiment of a method that
system comprises a determination component configured to                 resolves a difference between maps;
determine an impact of the change in the temperature of the         65      FIG. 18 illustrates one embodiment of a method that
racing surface. Also in this embodiment, the system com-                 causes a map to be made;
prises a modification component configured to make an                       FIG. 19 illustrates one embodiment of a town grouping;
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                              3                                                                       4
   FIG. 20 illustrates one embodiment of an interface;                 pertaining to the physical world-and portions thereof that
   FIG. 21 illustrates one embodiment of a system that may             would provide infonnation capable of representing map
be used in practicing at least one aspect disclosed herein; and        areas desired by gamers or other parties interested in com-
   FIG. 22 illustrates one embodiment of a system, upon                puterized modeling and representation of areas in space and
which at least one aspect disclosed herein can be practiced.           time-may be readily available from the Internet and private
   It will be appreciated that illustrated element boundaries          (or semi-private) electronic storage (e.g. Internet mapping
(e.g., boxes, groups of boxes, or other shapes) in the figures         services to include pictorial imagery, street views, direc-
represent one example of the boundaries. One of ordinary               tions, and others), topographical maps such as those avail-
skill in the art will appreciate that in some examples one             able from agencies (e.g., goverument, private, etc.), satellite
element may be designed as multiple elements or that              10   imagery, public photograph galleries, private photograph
multiple elements may be designed as one element. In some              galleries, military resources, weather services, space explo-
examples, an element shown as an internal component of                 ration agencies, user content provided web sites (e.g.,
another element may be implemented as an external com-                 streaming video web sites), traffic monitoring services, cen-
ponent and vice versa. Furthennore, elements may not be                sus bureaus and statistical data sources, international gov-
drawn to scale. These elements and other variations are           15   ernment equivalents, private and nonprofit entity resources,
considered to be embraced by the general theme of the                  and soforth).
figures, and it is understood that the drawings are intended              To alleviate this problem, a system can be used to create
to convey the spirit of certain features related to this appli-        tracks for the user. These tracks can be created based upon
cation, and are by no means regarded as exhaustive or fully            a user request (e.g., automatically created). For example, a
inclusive in their representations. Additionally, it is to be     20   user can desire to race at a track not included in the game.
appreciated that the designation 'FIG.' represents 'Figure'.           The user can submit a request to his or her game console and
In one example, 'FIG. l' and 'FIG. l' are referring to the             in response to the request, infonnation pertaining to the
same drawing.                                                          request can be gathered and a track can be generated (e.g.,
   The tenns 'may' and 'can' are used to indicate a permitted          at the console, at a remote location, etc.). Where infonnation
feature, or alternative embodiments, depending on the con-        25   pertaining to the request is incomplete, gaps can be filled
text of the description of the feature or embodiments. In one          with generic or location-based infonnation to provide a track
example, a sentence states' A can be AA' or 'A may be AA' .            that transitions smoothly throughout play by the user. Infor-
Thus, in the fonner case, in one embodiment A is AA, and               mation pertaining to the request, and in particular visual
in another embodiment A is not AA. In the latter case, A may           information (e.g., pictures from personal collections or
be selected to be AA, or A may be selected not to be AA.          30   online albums, mapping services including street views and
However, this is an example of A, and A should not be                  pictures, etc.), can be utilized either directly, with or without
construed as only being AA. In either case, however, the               adjustment (e.g., lighting and shadow adjustment, resolution
alternative or permitted embodiments in the written descrip-           normalization, color scheme correction, etc.), or completely
tion are not to be construed as injecting ambiguity into the           regenerated and represented in a cornmon application for-
appended claims. Where claim 'x' recites A is AA, for             35   mat. The user can use the track and the track can be made
instance, then A is not to be construed as being other than            available to other players. As used herein, a remote location
AA for purposes of claim x. This is construction is so despite         can refer to, but is not limited to, a first system. The first
any permitted or alternative features and embodiments                  system and a second system can be two distinct systems that
described in the written description.                                  are not directly connected to one another and separated by
                                                                  40   physical distance that interact via at network or data link
                DETAILED DESCRIPTION                                   such as, for example, the Internet, a local area network,
                                                                       infrared ports, and so forth, in a wired or wireless fashion.
   Described herein are example systems, methods, and                     The following paragraphs include definitions of selected
other embodiments associated with output production, such              tenns discussed at least in the detailed description. The
as (for example, but not limited to) producing a map for a        45   definitions may include examples used to explain features of
video game. One example type of video game is a racing                 tenns and are not intended to be limiting. In addition, where
video game. While examples to the racing video game are                a singular tenn is disclosed, it is to be appreciated that plural
described herein to describe aspects, it is to be appreciated          tenns are also covered by the definitions. Conversely, where
other type of video games can be employed according to                 a plural tenn is disclosed, it is to be appreciated that a
those aspects, as well as other types of non-video game           50   singular term is also covered by the definition. In addition,
applications.                                                          a set can include one or more member(s).
   With this racing video game, a disk can be sold in a store             References to "one embodiment", "an embodiment", "one
that includes not only the application of the game (e.g., code         example", "an example", and so on, indicate that the
used by a console to enable a user to play the game), but also         embodiment(s) or example(s) so described may include a
game content. Example game content can include different          55   particular feature. The embodiment(s) or example(s) are
cars and different tracks that the player can race the cars            shown to highlight one feature and no inference should be
upon. Due to limited disk space, a limited number of tracks            drawn that every embodiment necessarily includes that
can be available on the disk. To obtain more tracks, players           feature. Multiple usages of the phrase "in one embodiment"
can spend additional funds for additional downloadable                 and others do not necessarily refer to the same embodiment;
content that include other tracks. However, even with avail-      60   however this tenn may refer to the same embodiment. It is
able downloadable tracks and tracks sold with the disk, a              to be appreciated that multiple examples and/or embodi-
relatively limited number of tracks can be made available to           ments may be combined together to fonn another embodi-
the user. This relatively limited number of tracks can stem            ment.
from a bottleneck in application development. Developer                   "Computer-readable medium", as used herein, refers to a
time, storage space and other finite resources may impose         65   medium that stores signals, instructions, and/or data. A
constraints on the possible maps that can be delivered to an           computer may access a computer-readable medium and read
end user. Despite this, an ever-increasing amount of data              information stored on the computer-readable medium. In
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one embodiment, the computer-readable medium stores                     natural events (e.g., hurricane, volcano, flood). "Maps",
instruction and the computer can perfonn those instructions             "tracks", and "open world environments" or other similar
as a method. The computer-readable medium may take                      can also include human-impact or behavioral features, such
forms, including, but not limited to, non-volatile media (e.g.,         as foot or vehicle traffic, traffic signals and control features,
optical disks, magnetic disks, and so on), and volatile media           the ability to speed up or reverse human activity (e.g.,
(e.g., semiconductor memories, dynamic memory, and so                   deforestation or drainage, infrastructure development such
on). Example forms of a computer-readable medium may                    as paving). A "map", "track", or "open world environment"
include, but are not limited to, a floppy disk, a flexible disk,        can provide a user with the ability to "step into" a particular
a hard disk, a magnetic tape, other magnetic medium, an                 location and explore it as if they were present, and can then
application specific integrated circuit (ASIC), a program-         10   be altered according to the user's particular preferences
mable logic device, a compact disk (CD), other optical                  relating to space, time and other variables impacting the
medium, a random access memory (RAM), a read only                       map. As with other portions of this application, this descrip-
memory (ROM), a memory chip or card, a memory stick,                    tion is meant only to provide a brief, non-limiting word
and other media from which a computer, a processor or other             picture that provides some features relating to the essence of
electronic device can read.                                        15   the invention described herein.
   "Component", "logic", "module", "interface" and the like                FIG. 1 illustrates one embodiment of a system 100 that
as used herein, includes but is not limited to hardware,                includes an analysis component 105 and a production com-
finnware, software stored or in execution on a machine, a               ponent 110. The analysis component 105 can be configured
routine, a data structure, and/or at least one combination of           to analyze a map data set 115 to produce an evaluation result.
these (e.g., hardware and software stored). Component,             20   The production component 11 0 can be configured to produce
logic, module, and interface may be used interchangeably. A             a rendered map 120 based, at least in part, on the evaluation
component may be used to perform a function(s) or an                    result, where the rendered map is stored in a computer-
action(s), and/or to cause a function or action from another            readable medium (e.g., made available for use from the
component, method, and/or system. A component may                       computer readable medium).
include a software controlled microprocessor, a discrete           25      In one embodiment, the production component 110 can
logic (e.g., ASIC), an analog circuit, a digital circuit, a             produce the rendered map 120 configured for use in a video
programmed logic device, a memory device containing                     game. In one embodiment, the rendered map 120 is a file that
instructions, a process running on a processor, a processor,            can be used by a video game console or other electronic
an object, an executable, a thread of execution, a program,             device to produce a playable map in a video game. In an
a computer and so on. A component may include one or               30   embodiment, the playable map was not included in the
more gates, combinations of gates, or other circuit compo-              game's original content or developed for mass-use by a
nents. Where multiple components are described, it may be               particular entity, but generated on-demand based on an
possible to incorporate the multiple components into one                individual end user's desire to participate in a previously
physical component. Similarly, where a single component is              un-modeled environment in the game setting. In one
described, it may be possible to distribute that single com-       35   embodiment, the rendered map 120 is content produced on
ponent between multiple physical components. In one                     a display screen.
embodiment, the multiple physical components are distrib-                  In one embodiment, a player can playa racing video game
uted among a network. By way of illustration, both/either a             that enables the player to drive a video game race car (e.g.,
controller and/or an application running on a controller can            2008 Ford Mustang GT) upon a video game race track (e.g.,
be one or more components.                                         40   Indianapolis Motor Speedway). This video game race track
   "Maps", "tracks", "open world environments" or other                 may be based off a real race track and included on a disk of
similar terms are used herein to include areas in space and             the video game. Tracks included on the disk can be consid-
time either developed for the purpose of use with a game or             ered a video game track set. The player may want to race in
application, or produced by at least one system or other                the video game on a specific track not included in the video
embodiment described herein for use with one or more               45   game track set. Therefore, the system 100 may operate to
games or applications. These tenns can apply to one or more             create the specific track, or a plurality of tracks that are not
of: two dimensional representations (e.g., roads, trails, flat          pre-established within the shipped package.
scenery/horizon/aerial views), three dimensional represen-                 Under the disclosures set forth herein, one or more
tations (e.g., depth including depth through varying media              systems or processes can have instances where workers
such as gases, fluids and solids, to embrace structures [e.g.,     50   (e.g., truck drivers, law enforcement, military personnel) can
city blocks, skyscrapers, walls and fences, curbs], terrain             train on an area they are going into. In one example, the
features [e.g., fingers and draws on a mountain or around               President of the United States can visit Elkhart, Ind. As part
otherwise flat terrain, fordable rivers, non-fordable lakes],           of Secret Service training, the rendered map 120 can be
vegetation [e.g., large trees that are impassible, small trees          created proactively of a current state of Elkhart roads and
or shrubs that can be driven over], surfaces [e.g., paved, dirt,   55   agents can train on the map. This can allow realistic training
sand, grass]), and four dimensional representations (e.g., a            that can be enabled at minimal expense and in an ongoing,
particular place at a particular time, or through a progression         timely fashion. Being able to render navigable or interactive
of time, including times that may not be the present time).             maps using available data can have multiple applications.
"Maps", "tracks", "open world environments" and other                      Aspects disclosed herein can apply to various applica-
such can include terrain features (significant or minor),          60   tions, subject matters, etc. Example areas where aspects
various directions of observation in different conditions,              disclosed herein can be practiced include video games (e.g.,
weather (e.g., within a given time period [e.g., winter in              first person, third person, user interfaces or controls as
Alaska], at a stated time [e.g., on Apr. 28,1983], or during            replicated in games, etc.), simulators (e.g., ground vehicle,
the current time [e.g., from available local sensors or from            flight, ship, etc.), training systems, operation rehearsals (e.g.,
an online weather resource]) to include illumination data.         65   dismounted military mission, convoy preparation, commer-
"Maps", "tracks", and "open world environments" or other                cial logistics, etc.), leisure, plarming, navigation, virtual
similar can further include, exclude or alter the impact of             sightseeing or visitation, contingency development (e.g.,
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providing alternative routes and familiarization on new                available on Burke Lakefront Airport. In one example,
routes), modeling and other predictive, optimization or                racing web sites, a web mapping service application, and
analytical utilities dependent upon accurate reflections of            other locations (e.g., online locations) can be searched to
space and time, etc. In addition, features described herein            gather information (e.g., map data of the map data set 115)
can be used to supplement or augment actual developer                  about the Burke Lakefront Airport. However, since a his-
effort, by, for example, producing beta maps for refinement,           torical track is requested, other information may be used to
determining new places in time and space suitable for                  determine how to render a video game version of Burke
inclusion as a map in a game or application, or shifting               Lakefront Airport (e.g., historical weather information, dif-
developer strength from map development to the enhance-                ferent surface information based on repairs, etc.). In addi-
ment of maps (e.g., by adding additional interactive features,
                                                                  10   tion, different track layouts may be used during different
enemy or friendly units, dynamic areas, etc.). It is to be
                                                                       years for the Cleveland Grand Prix (e.g., 1989 Cleveland
appreciated that these example areas are not an exhaustive
                                                                       Grand Prix had a different track layout than 1990 Cleveland
list.
   FIG. 2 illustrates one embodiment of a system 200 that              Grand Prix). To determine which layout to create, the
includes a search component 205 along with the analysis           15   interaction component 305 can ask the player for more
component 105 and the production component 110. The                    information (e.g., ask player which track should be ren-
search component 205 can be configured to determine if a               dered) or query one or more sources of information (e.g.,
base map 210 for the rendered map 120 is available. The                compare with previous television watching to see if the
base map can be considered is at least part of the map data            player watched a particular race and making an inference
set (e.g., the analysis component 105 analyzes the base map       20   that the track the player wants is the track he watched). The
to determine if the base map meets a criteria set (e.g., one or        requests to the user for more information can either be fixed,
more criterion) and the production component 110 desig-                based on a gaming or application context, built from a set or
nates the base map as the rendered map, with this designa-             library of possible variables, or developed on-the-fly based
tion being an output). The search component 205 can                    using artificial intelligence technology (e.g., inferential tech-
operate at varying granular levels, determining if portions of    25   niques). In one embodiment, the production component 310
the base map 210 are sufficiently current and/or matching a            produces different layouts (e.g., the 1989 layout and 1990
time/situation of the user's choosing and/or if one or more            layout) in response to the request 320 (e.g., when a specific
possible base maps can be extracted or combined to provide             layout for the request cannot be ascertained) and makes
a more (e.g., the most) desirable search results.                      these layouts available to the player. The sources of infor-
   FIG. 3 illustrates one embodiment a system 300 that            30   mation that make up the map data set 115 can be public or
includes an interaction component 305, evaluation compo-               private, or a variant in between-for example, specific data
nent 310, and gather component 315, along with the analysis            or pointers/links to data can be stored inion the video game,
component 105 and production component 110. The inter-                 private or proprietary databases can be interrogated, public
action component 305 can be configured to receive a request            information can be investigated locally (e.g., local hard
320 for the rendered map 120. The evaluation component            35   drive) or via a network (e.g., Wikipedia), and others. Based
310 can be configured to evaluate the request 320 that                 on information gathered, the production component 11 0 can
produces an evaluation result, where the evaluation result             generate a video game version of the Circuit de Monaco and
indicates information to gather to produce the rendered map            output the video game version (e.g., as the rendered map
120 (e.g., what data should be gathered as part of the map             120).
data set 115). The gather component 315 can be configured         40      While visual rendering can be performed, other rendering
to gather the map data set 115 according to the information            may be performed. In one example, in auto racing, track
the evaluation result indicates to gather, where the map data          temperature can be important in determining how a car
set 115 is gathered prior to analysis by the analysis compo-           handles and other factors. A track can be rendered with
nent 105.                                                              temperature information (e.g., in addition to visual render-
   In one example, the player can make the request 320 (e.g.,     45   ing). With rendering with temperature information, the track
through a user interface) to race at Circuit de Monaco, home           can represent properties relevant to the temperature (e.g., a
of the Monaco Grand Prix, in his video game. The interac-              colder track can cause a car to respond differently than a
tion component 305 receives the request 320 and the evalu-             warmer track). In one example, real-time or recently taken
ation component 310 evaluates the request. As part of this             temperature information can be used in rendering (e.g., from
evaluation, the evaluation component 310 can determine            50   a taken track temperature reading, an inference drawn from
what information should be gathered to meet the user's                 air temperature over a period (e.g., the air temperature can
request. The gather component 315 can 100 to locate infor-             indicate track temperature based on track surface type), and
mation available on the Circuit de Monaco and collect such             others). In one example, average temperature can be used to
information. In one example, racing web sites, a web map-              determine track temperature.
ping service application, and other locations (e.g., online       55      In one example, asphalt in Cleveland may behave differ-
locations) can be searched to gather information (e.g., map            ently than asphalt in Miami. Rendered asphalt (e.g., in a
data of the map data set 115) about the Circuit de Monaco.             video game) can be based on asphalt in those locations. In
Based on information gathered, the production component                one example, track can be based on real-time weather
110 can generate a video game version of the Circuit de                information (e.g., rain, temperature, sun exposure, and oth-
Monaco and output the video game version (e.g., as the            60   ers). Different characteristics can be given to different parts
rendered map 210).                                                     of one track (e.g., start of course has different track tem-
   In one example, the player can make a request 320 (e.g.,            perature than end of course).
entered with a video game console controller) and this                    In an embodiment, a track can provide canned character-
requested is received by the interaction component 305. The            istic. In one example, a rendered track can show a tempera-
request can be to race at Burke Lakefront Airport, home of        65   ture of 'x' degrees. This information can be given to a game
the Cleveland Grand Prix from 1982-2007. The gather                    and the game can have a car respond in a certain manner
component 315 can be employed to locate information                    based on the temperature.
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   In one embodiment, a player can request a rendered map                use resources (e.g., processor, memory, and others) to render
of Indianapolis Motor Speedway. A track at Indianapolis                  an entire, or particular thresholds of, an available open world
Motor Speedway can be arranged in different configurations.              at one time. In one example, a game can be configured to
For example, an Indianapolis 500 configuration can config-               have a person drive on roads available in the United States
ure as a squared oval while an Indianapolis Grand Prix                   and Canada. A vast amount of resources could be consumed
(motorcycle race) configuration can configure as a road                  to render possible road combinations available for possible
course. In one embodiment, the production component 110                  routes in the United States and Canada. Therefore, selective
can produce a rendered map of the Indianapolis Motor                     rendering can occur (e.g., a selection component that can be
Speedway such that a user can select a configuration, a                  part of the system 100 of FIG. 1) can select what to render.
configuration can be proactively brought out by a video             10      In one example, a rendered area around a vehicle 405 of
game (e.g., default squared oval, but player can select road             a video game is selected (e.g., a distance of 'X' around the
course), and others. For example, the rendered map 120 can               vehicle 405 on the vehicle's sides). The system 100 of FIG.
be produced while including track configurations for modern              1 can render a rendered area 410 around the vehicle 405
Indianapolis 500, a classic Indianapolis 500 (e.g., brick-               (e.g., the rendered area is at least part of the rendered map
covered track, partially brick-covered track, pre-brick             15   120 of FIG. 1). As the vehicle moves in the map area 400,
crushed stone and tar track, etc.), a Formula One Grand Prix             the rendered area 410 can change. In one example, an area
(a defunct race), or the Indianapolis Grand Prix motorcycle              within which the world is actively rendered by or in system
race. In one embodiment, a configuration is selected and                 resources is distance 'X'. If the vehicle moves in 'Y'
high detail levels are given to track aspects that relate to the         direction, then a new rendered area 410' can be made around
configuration while low detail levels are given to track            20   a newly positioned vehicle 405'. New rendered area 410' can
aspects that do not relate to the configuration (e.g., if oval is        be rendered entirely, or can merely clear a portion of
selected, road course specific aspects can be given visual               resources representing the eliminated difference of rendered
distance aspects but not be rendered with surface attributes             area 410 and recycle or use new resources to render the
such as track temperature).                                              added difference as a portion of new rendered area 410'. The
   In one embodiment, the player can request to play at             25   map area 400 can be considered the rendered map 120, a
Indianapolis Motor Speedway with an Indianapolis 500                     rendered area 410 and/or 410' can be considered the ren-
configuration. The production component 110 can render the               dered map 120, etc.
speedway with Indianapolis 500 configuration portions in                    In one embodiment, the system 100 of FIG. 1 causes a
high detail and other configurations in relatively low detail.           part of rendered area 410 that is not part of rendered area
If the player desires to play another configuration of the          30   410' to be deleted while rendering a part of rendered area
Indianapolis Motor Speedway, changes can be made accord-                 410' that is not part of rendered area 410. In one embodi-
ingly, such as, for example, transforming the low detail                 ment, the system 100 of FIG. 1 causes a part of rendered area
portions into high detail.                                               410 that is not part of rendered area 410' to be retained in a
   In one embodiment, as a track is played in a video game,              database while rendering a part of rendered area 410' that is
the track can have characteristics changed that change how          35   not part of rendered area 410 (e.g., thus saving areas once
the game plays. In one example, tracks can experience                    they have been driven in the game).
weeping (e.g., where water was seeping up through the                       The size of the distance 'X' can be determined based, at
asphalt and creating dangerous wet spots), tire marks from               least in part, on one or more factors. In one example, the
other video game cars breaking heavily on a track, and                   distance 'X' is fixed (e.g., set by a game programmer). In one
others. The track can reflect these changes to influence how        40   example, 'X' is based, at least in part, on how much detail
a game plays (e.g., later in a game, more rubber on a track              exists in the map area 400 (e.g., more detail means a smaller
can lead to a different gaming result).                                  rendered area 410). In one example, 'X' is based, at least in
   FIG. 4 illustrates one embodiment of a map area 400. The              part, on how fast the vehicle 405 is travelling in the game
map area 400 can be at least a part of the rendered map 120              (e.g., faster vehicles have a larger radius since faster vehicles
of FIG. 1. In one example, a video game can employ an open          45   travels more distance is less time). In one example, 'X' is
world concept. In the open world concept, a player can have              based, at least in part, on intelligent analysis of player
an unconstrained area to maneuver. In one example, the                   driving style, vehicle speed, information ascertained for
player can drive various streets of Cleveland, Ohio (e.g.,               other players of the game, other factors, or a combination
streets, streets with postal addresses, drivable areas (e.g.,            thereof. The rendered area can be a symmetrical shape (e.g.,
lawns, city parks, and others), and others). This differs from      50   circle, square, sphere, cube, and soforth) or an enviroumen-
a track concept, where a player can be limited to drive on a             tally-dependent area based on possible rates of movement or
track (e.g., Daytona International Speedway). The rendered               usage across particular areas (e.g., render areas across water
map 120 can represent an open world concept map, a track                 or mountain at lower resolution or for shorter distances than
concept, etc.                                                            areas accessible by improved roadways). Other variables
   In the open world concept, a vast amount of information          55   impacting the rendered area (or areas anticipated to be
can exist, a vast amount of possible roads along with scenery            rendered) will be readily appreciated by those skilled in the
can be available, and others. This can contrast the track                art upon reflection of the disclosures herein. In one example,
concept where drivable roads are fixed, scenery for those                'X' is based, at least in part, on available system resources.
roads is smaller than open world scenery, and others. In                 System resources can be analyzed (e.g., by the analysis
addition to preexisting data, other data can be mined or            60   component 105 of FIG. 1 or other component) in terms of an
generated to expand the boundaries of the world to permit a              absolute metric (e.g., total memory), a relative metric (e.g.,
user to travel such that there are no limitations or boundaries          percentage-wise commit charge), contextual factors (e.g.,
are apparent or encountered (e.g., in a sailing game, an ocean           other programs using memory, priority level of other pro-
map can be generated allowing a player to circumnavigate                 grams using memory, etc.), and others. In one embodiment,
the earth).                                                         65   an optimization algorithm or other selection technique is
   Due to the vast amount of information available in the                employed to determine the best use of resources by deter-
open world concept, it may be undesirable to continuously                mining areas to render, to a particular resolution, in a
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particular order; what rendered areas to store in fast-access         evaluation result. The alteration component 505 can deter-
memory (e.g., Random Access Memory or cache); what                    mine how to modify the base map 210 based on the
rendered areas to save to storage (e.g., hard drive or net-           evaluation result, modify the map, transfer an instruction on
work); and what rendered areas to discard.                            how to modifY the map, and others. The system 500 (e.g., by
   FIG. 5 illustrates one embodiment of a system 500 that             way of the alteration component 505) can emit a modifica-
includes an alteration component 505 along with the analy-            tion output. The modification output can be an instruction set
sis component 105 and the production component 110. A                 on how to modify a map, a software kernel that proactively
video game player can be playing a first-person shooter               modifies a map, and others.
video game and desire to have a multi-player session on a                Additionally, the modification output can be transferred to
small, uninhabited Pacific island. The search component 205
                                                                 10   multiple maps. In one embodiment, multiple iterations of the
of FIG. 2 can perform a search for a map of the island and
                                                                      map can exist on game consoles. In one example, different
determine that a base map 210 for the island is available. The
                                                                      consoles can have a rendered map of a particular city. A
base map 210 can be a full rendering of the same island that
was created for another game, a rendering of a part of the            determination can be made (e.g., by the system 500) that a
island, etc. The base map 210 can be considered the map          15   street becomes one-way during rush hour. Rendered maps of
data set 115 of FIG. 1.                                               the particular city can be updated based on the determina-
   The analysis component 105 (or other component) can                tion. The modification output can be transferred to game
evaluate the base map 210 to determine if the base map 210            consoles and the iterations of the map can exist. In this and
should be altered (e.g., is alteration necessary for usage,           other ways, maps can be dynamic based on context and
balance accuracy against resource usage, etc.), how the base     20   update depending on real or imagined situations, or based on
map 210 should be altered (e.g., how the map should be                user or other preference (e.g., time of day, map settings, and
altered can be information of the map data set 115 of FIG.            others).
1), etc. Based on a result of this evaluation, the alteration            In one example, one correction can apply to different
component 505 can alter the base map 210. In one embodi-              specific maps. In one example, a first map is of a city and a
ment, the alteration component 505 is part of the production     25   second map is of a county that includes the city. Both the city
component 110 such that alteration of the base map is                 map and the county map can include a street with an error
production of the rendered map 120. Thus, in one embodi-              (e.g., a light post is in the rendered map that is not existent
ment, the base map is modified to become the rendered map             in real-life). The modification output can be applied to the
(e.g., by the production component 110).                              city map and the county map such that the error is corrected.
   In one embodiment, a player can playa video game with         30   In one embodiment, different modification outputs can be
the base map 210. New information can be discovered that              made (e.g., one for the county map and one for the city map)
pertains to the base map. For example, a golfing video game           and/or after the modification output is produced by the
can include a specific golf course. When the base map 210             system 500 (e.g., by the alteration component 505), it can be
is created, an information source may state that the grass of         copied and/or modified for different maps. In one embodi-
greens on the course is Bent Grass. Thus, in the base map        35   ment, the system 500 makes different modification outputs
210 has the player play on Bent Grass greens. However, a              for different maps.
new information source can be discovered (e.g., newly                    In one embodiment, a map can be made up of and/or
available, newly found, a correction to the information               dependent upon another map. In one example, a county can
source) that indicates the grass of greens is actually Ber-           be made up of a group of cities. Therefore, a county map can
muda Grass. The alteration component 505 can modifY the          40   comprise city maps (e.g., maps of cities in the county). Thus,
base map 210 such that the golf course instead has Bermuda            there may not actually be a county map in of itself, just a
Grass greens. This alteration can change how the greens               group of city maps that form a county. In one example, the
look, how the greens respond (e.g., how the greens play),             modification output can be used to correct a city map that in
etc. This alteration can occur while the base map 210 is              turn corrects a county map.
being used, not being used, etc. Thus, the rendered map 120      45      The correction information can be different types of
can be produced (e.g., by the production component 110)               information. In one example, an error can be identified in
such that a pre-rendered map (e.g., base map 210) is altered          base map 210 and the correction information can be infor-
in accordance with the map data set 115 of FIG. 1 (e.g.,              mation on how to correct the base map 210 (e.g., where
information that the greens are Bermuda Grass) to become              correcting the base map 210 converts the base map 210 into
the rendered map 120.                                            50   the rendered map 120). In one example, a real-world area
   A map can be rendered. After the map is rendered, new              can be updated. In one example, a stop sign can be replaced
information (e.g., more recent with respect to the physical           with another traffic management notification device (e.g.,
world, additional data about a previous time or condition,            yield sign, traffic light, and others). The correction informa-
predicted conditions based on models or anticipated events)           tion can be information to update base map 210 (e.g., a
can become available (e.g., be made known, be discovered         55   previously rendered map) to reflect the real-world area.
by the system 600, be read, information to make a second                 In one embodiment, a user can make modification to a
data portion more reliable than a first data portion used to          track. In one example, the Indianapolis Motor Speedway can
create the map, and others). In one example, the new                  configure with a first and a second straightaway that are
information can be correction information 605 that corrects           about fifty feet wide. A player can desire that the width be
an error of the map.                                             60   shortened and the alteration component 505 can modifY the
   In one embodiment, the system 500 is remote from the               rendered track and/or the track can be rendered with the first
video game console, be located upon the video game con-               and the second straightaway being narrowed. In one
sole, operate in a non-video game environment, etc. Cor-              example, if a player desires to widen the track, the rendered
rection information (e.g., such as the change in the golfing          map can be modified to not only widen the track, but modifY
grass) can be identified (e.g., by the search component 205      65   other aspects (e.g., moving a grandstand, move a barrier
of FIG. 2). The analysis component 105 can evaluate the               wall, eliminate a grandstand, and others) to accommodate
correction information and the base map 210 to produce an             the widening.
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   In one embodiment, a multiplayer game or application                  game application. In one embodiment, the video game map
map can be created and this creation can be based, at least              comprises an environment upon which an avatar (e.g.,
in part, on map information. The multi player game or                    hnman-type character) can navigate
application can be local or over a connection. A group of                   In one embodiment, the physical information set is voice
people can play an online fantasy game (e.g., World of                   information and where the video game output is video game
Warcraft) or similar virtual-world application (e.g., Second             audio commentary. For example, a college football broad-
Life) as well as other games. Anew area of the game can be               casting team (e.g., a play-by-play broadcaster and color
based off a real area. In one example, Central Park in New               commentator) can provide audio support for the broadcast of
York City or Nottingham Forrest in England can be analyzed               a college football game. The collection component 605 can
(e.g., by the analysis component 105) and a map can be              10   obtain a copy of the audio support. The render component
rendered with features of these areas playable in the online             610 can break down the audio support and extract singular
fantasy game. In another example, real-life places can be                lines (e.g., individual lines for the play-by-play broadcaster
imported (e.g., function as the base map 210) and modified               and color commentator related to play on the field). During
(e.g., by the alteration component 505) to serve as a basis or           game play of a college football video game on a video game
inspiration for a representation of an alternate reality (e.g.,     15   console, the render component 610 can output (e.g., cause a
the rendered map 120). Components can be employed to                     video game console) of a singular line or multiple lines in
analyze and render various aspects of a real-life map or                 response to an occurrence in gameplay, to set tone of
environment according to a scheme set forth in the game or               gameplay, etc. For example, if a player in the game makes
application.                                                             a hard hit, then a common term used by the color commen-
   FIG. 6 illustrates one embodiment of a system 600 that           20   tator can be played. As opposed to playing a version of the
includes a collection component 605 and a render compo-                  common term pre-recorded for the video game, a version is
nent 610. The collection component 610 is configured to                  extracted from a real broadcast and played. In one embodi-
collect a physical information set. The physical information             ment, the render component 610 alters the common term to
set can be collected from one or more physical information               make it more suitable for gameplay (e.g., lowers volume,
sources (e.g., physical information sources 615, 620, and           25   changes tone, replaces a player name, removes possibly
625) and/or from a remote location (e.g., a remote or local              offensive language, etc.).
collection device that sends a packaged physical information                While aspects disclosed herein discuss that the render
set to the collection component 605 that the collection                  component 610 produces a video game output 630, the
component 605 receives). The collection component 610                    render component 610 (and other components) can function
can also collect information that is not part of the physical       30   to produce non-video game outputs. Thus, aspects disclosed
information set (e.g., game console requirements). The                   herein can have applicability outside of the video game
render component 610 can be configured to produce a video                realm.
game output 630 based, at least in part, on the physical                    FIG. 7 illustrates one embodiment of a system 700 that
information set, where the video game output 630 is stored               includes an identification component 705 and an approxi-
on a computer-readable medinm. In one embodiment, the               35   mation component 710 along with the collection component
collection component 605 and render component 610 reside                 605 and the render component 610. The identification com-
upon a video game console (e.g., at least part of the                    ponent 705 can be configured to identifY missing informa-
collection component 605 and at least part of the render                 tion in the physical information set (e.g., obtained from the
component 610).                                                          physical information sources 615, 620, and 625). The
   Example physical information sources include Internet            40   approximation component 710 can be configured to deter-
websites, databases, etc. Example physical information that              mine a substitute information set for the missing informa-
can be part of the physical information set can include                  tion, where the video game output 620 is based, at least in
weather information, route information, opinion information              part, on the physical information set and the substitute
(e.g., a group of users say a road is difficult to drive), visual        information set.
information, audio information, depth information, etc.             45      The collection component 605 can receive a user request
Physical information can be gleaned from a variety of                    for a map to be made of a dirt road area for a rally car racing
sources, including a network or data link to the Internet,               video game. The collection component 605 can obtain
local networks, direct-connected systems, and communica-                 information pertaining to the dirt road area, including infor-
tion devices capable of providing physical information from              mation related to how road are configured, weather condi-
sources such as satellites, weather systems and stations,           50   tions, and the like. However, some information about the
radio or telephonic communication, proprietary databases,                road area may be unavailable. For example, what type of dirt
geological or other surveys, map datnm or data, and others.              the road is made up of, a mixture ratio of different dirt types
A baseline for such data can be ascertained in order to                  for a road surface, and other information may be unavail-
produce an average result where differing or conflicting                 able. The identification component 705 can identifY the
physical information exists, and to fill gaps where physical        55   missing information (e.g., compare available information
information is incomplete or imperfect. It is to be appreci-             against information used to create previous map, compare
ated that this is by no means a limiting list of physical                available information against hardcoded information listed
information and one of ordinary skill in the art can appre-              as desirable, etc.). The approximation component 710 can
ciate that other information is to be included. These                    compensate for this missing information by generating sub-
examples are intended to be non-limiting, and embrace,              60   stitute information. For example, an aerial photograph of the
rather than exclude, other sources and types of information              dirt road area can show the road being a certain color. The
described herein.                                                        approximation component 710 can estimate a road dirt type
   In one embodiment, the physical information set is a                  based on this color. The render component 610 can produce
physical map information set and where the video game                    the video game output 630 that is consistent with the
output 630 is a video game map. In one embodiment, the              65   estimated road dirt type. The video game output 630 can be
video game map comprises a race course and where the                     a racing track where the track responds in a manner con-
video game enables use of the race course in a racing video              sistent with the estimated dirt type.
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   FIG. 8 illustrates one embodiment of a system 800 that               time traffic information), new information service broad-
includes a monitor component 805, an appraisal component                casts (e.g., traffic accident reports from new organizations),
810, and a decision component 815 in addition to the                    and others.
collection component 605 and the render component 610.                     The assessment component 905 can evaluate the map data
The monitor component 805 can be configured to monitor a                and the determination component 910 can determine which
content 820 presented by way of an electronic device (e.g.,             map data 925 to use in rendering and/or updating a map. In
a video displayed on a television, a song played on a                   one example, different pieces of map data can contradict one
personal computer speaker system, a webpage visited on a                another.
smartphone, etc.). It is to be appreciated that the system 800             In one example, an information source states that traffic
                                                                        on Main Street is heavy while a news report states that traffic
can function without the monitor component 805. The                10
                                                                        on Main Street is medium. In an embodiment, the informa-
appraisal component 810 can be configured to evaluate the
                                                                        tion source can be a real-time feed or stream such as a
content 820. The decision component 815 can be configured
                                                                        microblog (e.g., Twitter) or feed from a social, news or
to proactively (e.g., automatically) select the video game              govemment network (e.g., Facebook news feed, local media
output 820 for production (e.g., send an instruction to the        15
                                                                        RSS (Really Simple Syndication) feed, state police network,
render component 810 on what video game output 820 the                  etc.). The determination component 910 can determine if
render component 610 should produce) based, at least in                 traffic on Main Street is heavy or medium (e.g., a determi-
part, on a result from evaluating the content 820.                      nation is made that traffic is medium if intelligence of the
   The system 800 can function to provide a user with                   determination component 910 weighs the news report as
content the user is likely to want. For example, a user can        20   more accurate than the microblog (e.g., microblogs in gen-
watch a car race on television on a particular track. The               eral, a specific person who made the microblog, and others )).
system 800 can make an inference (e.g., through use of at               In an embodiment, the determination can be a direct or
least one artificial intelligence technique) that the particular        weighted average of the disputed reports. In the instance of
track should be created for the user after the monitor                  a weighted average, weights can be assigned based on the
component 805 monitors the content 820. In one embodi-             25   historical accuracy of a single source, the number of viewers
ment, before moving further, the system 800 can confirm                 of a source, the size or value of a source, and other variables.
with a user that the track should be rendered as video game             Other possible determination means, utilizing various algo-
output 620 (e.g., through a user interface) and the decision            rithms and techniques, as well as variables not listed, will be
component 815 instructs components to go forward based, at              apparent to one of ordinary skill in the art upon reflection
least in part, on the user confirmation. The appraisal com-        30   regarding the disclosures herein.
                                                                           In one example, two photographs (e.g., a first photograph
ponent 810 can evaluate the content and based on this
                                                                        and a second photograph) are collected by the system 900
evaluation, the collection component 605 can seek out
                                                                        and evaluated by the assessment component 905. In the first
information about the particular track, such as recording the
                                                                        photograph a light pole is shown colored green. In the
content 820 (e.g., on a computer readable medium), per-            35   second photograph, the light pole is shown as colored blue.
forming an Internet search for a website of the particular              The determination component 910 can determine what color
track and downloading results, and others. This information             to make the light pole in an output (e.g., the rendered map
can be used by the render component 610 to produce the                  120 of FIG. 1). In one example, the determination compo-
video game output 630.                                                  nent 910 can analyze when the photographs were taken and
   In one embodiment, a user can be watching a classic             40   information in a more recent photograph is used (e.g., date
baseball game at Tiger Stadium in Detroit, Mich. on a                   stamp, Exchangeable Image File Format (EXIF) informa-
smartphone, where the classic baseball game is the content              tion, Extensible Metadata Platform (XMP) information,
820. The monitor component 805 can monitor the content                  International Press Telecommunications Council (IPTC)
820 (e.g., extract information from the content 820, where              metadata information, other metadata, an inference such as
the extracted information is a monitoring result). The             45   that the pole was painted and therefore the more recent
appraisal component 810 can evaluate the content 820 (e.g.,             photograph is more accurate, and others). In one example,
the content 820 itself, information extracted from the con-             the determination component 910 can actively seek out
tent 820, inferences drawn from monitoring the content 820,             information to be used in determining a color for the light
etc.) and based on this evaluation, the decision component              pole (e.g., find other photographs, acquire a real-time sat-
815 can decide if the video game output 630 should be              50   ellite image, and others).
produced based on the content 820, determine if enough                     The filter component 915 can limit map data 925 trans-
information is available to produce the video game output               ferred to the output component 920 (e.g., the output com-
630 (e.g., if so, then instruct the render component 610 to             ponent 920 functioning as the production component 110 of
operate; if not, then cause the collection component 605 to             FIG. 6, the output component 920 functioning as the render
gather more information), etc.                                     55   component 610 of FIG. 6, etc.). In one embodiment, the
   FIG. 9 illustrates one embodiment of a system 900 that               determination component 910 instructs the filter component
includes an assessment component 905, determination com-                which pieces of map data 925 should be passed to the output
ponent 910, filter component 915, and output component                  component 920 (e.g., used to create a map). The output
920. The system 900 can incorporate the analysis component              component 920 can render a map based on the map data 925
105 of FIG. 1, production component 110 of FIG. 1, the             60   (e.g., map data 925 passed through the filter component
collection component 605 of FIG. 6, and/or the render                   915). The output component 920 can produce a map output
component 610 of FIG. 6. Different pieces of map data 925               930 (e.g., the rendered map 120 of FIG. 1, a data set upon
(e.g., that are part of the map data set 115 and/or obtained by         which the production component 110 of FIG. 1 renders a
the sources 615, 620, and/or 625) can be collected by the               map, an instruction on how to modifY the rendered map 120
system 900. Example map data can include personal images,          65   of FIG. 1, the video game output 630 of FIG. 6, etc.).
map application data, text (e.g., available online for a                   In one embodiment, information related to a person can be
message board), microblogging (e.g., used to ascertain real-            used proactively create data (e.g., a gaming map) for the
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person. In one example, a person could frequent message               1010, obtainment component 1005, and collection compo-
boards and write posts stating that they wished they could            nent 605 of FIG. 6 can implement as one component. In one
playa first person shooter on the moon, send messages to              embodiment, a requested map may already exist (e.g., on a
friends (e.g., e-mails) expressing this desire, and others.           database, on a game console, and others). If a requested map
Based on the posts and messages, an inference could be                already exists, then the gather component 1010 can collect
drawn that the player wants to playa map of the moon in a             the requested map and the requested map can be outputted
game she commonly plays. The system 900 can proactively               as output 1030 (e.g., by the transfer component 1020 and
gather map data 925 that pertains to the moon and proac-              without passing the map through the transfer component).
tively generate the map output 930 of the moon for play in               In one embodiment, the gather component 1010 searches
the game.                                                        10   for a map meeting the request 1025 and identifies a map that
   Similarly, a map can be modified based on information. In          meets the request 1025 at a location. The transfer component
one example, a person can play a map on a first person                1020 can cause the map that meets the request 1025 to
shooter game. In this map, an unintentional game aspect can           transfer to a location designated in the request 1025 (e.g.,
occur that a person considers a cheat. In this example,               transfer directly without residing on the system 1000).
players may play on opposing teams and have a goal of            15      In one embodiment, the gather component 1010 identifies
capturing and retaining checkpoints to achieve a team score.          information sources and collects information that can be
However, a map can include a feature where players on one             used in generating a rendered map. Based on collected
team can lob grenades across a game board in an unrealistic           information, the generation component 1015 can construct a
and/or unfair manner toward one of the checkpoints that               map for use on a computer (e.g., a video game, a training
kills members of the opposing team. A component can              20   map, a movie (e.g., a map used in a cartoon), and others).
fnnction to identify this alleged cheating behavior or other          The transfer component 1020 can transfer the map as output
unintended exploitations of the map, determine if a proac-            1030 (e.g., the rendered map 120 of FIG. 1, the video game
tive modification of the map and/or the game should occur,            output 630 of FIG. 6, etc.).
and if a positive determination is made, then to modifY the              In one embodiment, a base map (e.g., base map 210 of
map and/or the game. Various outcomes can cause proactive        25   FIG. 5) for a requested map is available. The gather com-
modification and different modifications can occur. In one            ponent 1010 can collect the base map. In one example, the
instance, the modification can be in response to observed             person requests a map of Lucas Connty, Ohio. Maps may be
player behavior (e.g., players skipping a map a dispropor-            available for Toledo, Ohio; Sylvania, Ohio; and Oregon,
tionate amount of times (e.g., when disproportionate skip-            Ohio (e.g., these three cities for the base map). However,
ping is identified, analyzing conduct to infer why skipping      30   maps may not be available for Maumee, Ohio as well as for
occurs )), response to complaints filed against a certain             villages and townships of Lucas County, Ohio. Therefore,
player who is performing the supposed cheat, response to              the gather component 1010 collects information on how to
conversations over a network hosting the game complaining             render Maumee, Ohio as well as for villages and townships
of the supposed cheat, and others. The modification can               of Lucas County, Ohio. The generation component 1015
include modifYing the map to render the supposed cheat           35   renders a map and the transfer component 1020 outputs the
inoperable (e.g., placing a barrier [e.g., real or invisible1         map (e.g., as output 1030).
such that the cheat is disabled), modifying the game (e.g.,              In one embodiment, the base map is a map of a city and
causing the grenade to explode if sent from a certain angle,          the generation component 1015 modifies the map for spe-
from a certain spot, from a certain spot with a certain angle,        cific characteristics. In one example, the city is Tyler, Tex.
from a certain weapon; randomly changing key locations to        40   and a base map for Tyler, Tex. is available. However, the
decrease or eliminate the reward of the unsportsmanlike               request 1025 can include a portion that specifies racing in a
behavior; etc.), modifying the game and/or map locally,               hot temperature. A hot temperature can change road condi-
modifYing the game and/or map universally, and others.                tions. The base map for Tyler, Tex. can be configured to
Enabling proactive modification can enable a game to be               function with average temperature properties. The genera-
improved after later versions are out, a game is no longer       45   tion component 1015 can modifY the base map to change
supported by a manufacturer, and others.                              properties to those of hot temperature. In one embodiment,
   FIG. 10 illustrates one embodiment of a system 1000 that           public or private weather services or other information
includes an obtainment component 1005, a gather compo-                sources can be consulted for these purposes (e.g., cause map
nent 1010, a generation component 1015, and a transfer                to reflect weather that is actual/real-time, representative of
component 1020. The system 1000 can incorporate the              50   historic trends, user-selected, etc.). In one embodiment, how
analysis component 105 of FIG. 1, production component                roads in Tyler, Tex. react to hot temperatures can be reflected
110 of FIG. 1, the collection component 605 of FIG. 6,                in the output 1030.
and/or the render component 610 of FIG. 6. A person can                  In one embodiment a player requests (e.g., through the
make a request 1025 for a map to be generated and the                 request 1025) for an arena to be created (e.g., a modem-day
obtainment component 1005 (e.g., operating as the collec-        55   Madison Square Garden, a 1920 Madison Square Garden
tion component 605 of FIG. 6) collects the request 1025. In           set-up for a fight between Jack Dempsey and Bill Brennan,
one embodiment, the request 1025 is for a specific area to be         a Madison Square Garden with player requested modifica-
created (e.g., a map of Bonneville Salt Flats). In one                tions, and others) for play in a boxing game. The gather
embodiment, the request 1025 is for a specific area with              component 1010 can search the Internet for images and
specific characteristics (e.g., a map of New Orleans on Fat      60   information on Madison Square Garden. In one example, if
Tuesday (e.g., with roads closed for parade routes), a map of         the request 1025 is for the 1920 Madison Square Garden
New York City in heavy traffic, a map of Glasgow, Scotland            set-up for the fight between Jack Dempsey and Bill Brennan,
in heavy rain, and others). In one embodiment, the request            then the gather component 1010 can search the Internet to
1025 is a general request (e.g., a request for a random map           find archived photographs, newspaper descriptions, and oth-
to be created).                                                  65   ers. Based on data collected by the gather component 1010,
   The gather component 1010 can be employed to gather                the generation component 1015 can create the arena and the
information. In one embodiment, the gather component                  transfer component 1020 can transmit the arena as output
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1030 (e.g., transmit the arena to a game console). Data                render the map 1130 or cause the map 1130 to be rendered
collected by the gather component 1010 can be targeted, for            (e.g., at another location). In one embodiment, the genera-
example, to seek a pinpoint information set, representing a            tion component 1120 modifies the rendered map 120 of FIG.
specific place and time, or to find a set of information over          1. In one embodiment, the production component 110 of
a range of space and time and aggregate sufficient infonna-            FIG. 1 and/or the render component 610 of FIG. 6 function
tion for the generation component 1015 to create an accurate           as the generation component 1120.
approximation where pinpoint (e.g., where pinpoint data is                FIG. 12 illustrates one embodiment of a system 1200 that
unavailable [e.g., literally or cost prohibitive], resource-           includes the examination component 1105, the identification
intensive, slow to access, etc.).                                      component 1110, an approximation component 1205, and a
   FIG. 11 illustrates one embodiment of a system 1100 that       10   composition component 1210. The system 1200 can incor-
includes an examination component 1105, an identification              porate the analysis component 105 of FIG. 1, production
component 1110, a separation component 1115, and a gen-                component 110 of FIG. 1, the collection component 605 of
eration component 1120. The system 1100 can incorporate                FIG. 6, and/or the render component 610 of FIG. 6. The
the analysis component 105 of FIG. 1, production compo-                system 1200 can collect map infonnation 1215 (e.g., the
nent 110 of FIG. 1, the collection component 605 of FIG. 6,       15   map data set 115 of FIG. 1) and the examination component
and/or the render component 610 of FIG. 6. Map infonna-                1105 can evaluate the map information 1215. The exami-
tion 1125 (e.g., the map infonnation is the map data set 115           nation component 1105 can evaluate the map infonnation
of FIG. 1 and/or is obtained from the sources 615, 620, and            1215, at least in part, with regards to if there are any
625 of FIG. 6) can be collected (e.g., actively (e.g., the             unknown areas.
system 1100 seeks out map infonnation) and/or passively           20      In one embodiment, the map infonnation 1215 may be
(e.g., map information is sent to the system 1100 (e.g.,               deficient or otherwise less than ideal for a particular context
directly (e.g., by another unit) or indirectly (e.g., radio            or in a particular instance. In one example, the map infor-
waves)))) by the system 1100 and evaluated by an exami-                mation is to train submarine crews on navigating oceans.
nation component 1105. The system 1100 can be configured               However, specific information at deep ocean depths may not
to render a map 1130 based off a specific location. However,      25   be available. Therefore, the system 1200 can make approxi-
a desire may exist for a map to not be a correct represen-             mations. The identification component 1110 can identifY
tation of the specific location. In one example, a person can          areas that are appropriate for approximation and the approxi-
request to have a map made of Windsor, Ontario, Canada.                mation component 1205 can make approximations of these
However, some real-life roads may include adult establish-             areas. Information used in approximations can, for example,
ments (e.g., casino, strip clubs, night clubs, and others). The   30   seek a set of infonnation over a range of space and time and
desire may be to mask these adult establishments from a                aggregate sufficient information for the generation compo-
child, so if a person making a map request is a child, the             nent 1015 to create an accurate approximation where pin-
system 1100 can filter out adult aspects when producing the            point (e.g., where specific data is unavailable [e.g., literally
map 1130 (e.g., the map 1130 can be the rendered map 120               or cost prohibitiveL resource-intensive, slow to access, etc.).
of FIG. 1, the map 1130 can be video game output 630 of           35      In one example, a map is designated for creation of an
FIG. 6, etc.).                                                         area of ocean at a deep depth. Actual map infonnation
   The examination component 11 05 can examine the map                 related to the area at the deep depth may not be available.
information 1125 and produce an examination result. The                However, the system 1200 may be able to obtain auxiliary
identification component 1110 can use the evaluation result            information. Example auxiliary infonnation can include:
to identifY items to not be rendered in the map 1110. In one      40   wildlife found in the region and are comfortable around the
example, parental controls can at least partially control              deep depth, scientific calculation infonnation (e.g., pressure
intelligence used by the identification component 1110 to              at the depth, natural light that would make it to the depth,
identify map infonnation not to be used, replaced, and other           and others), information derived from ocean models, and
in the map 1130. In one embodiment, the identification                 others.
component 1110 can identifY copyrighted infonnation and           45      The composition component 1210 (e.g., production com-
cause the copyrighted information to be replaced in a                  ponent 110 of FIG. 1, render component 610 of FIG. 6, etc.)
rendered map. In one embodiment, the identification com-               can create a map based on approximation infonnation and
ponent 1110 functions by scanning photographs for copy-                map infonnation 1215. The map can be outputted as an
righted infonnation, inappropriate content (e.g., sexually             outputted map 1220 (e.g., rendered map 120, video game
suggestive advertisements), etc.                                  50   output 630, etc.). In one embodiment, the composition
   In one embodiment, the system 1100 can function to                  component 1210 can cause a component to create a map
replace advertisements with targeted advertisements. In one            and/or output a map (e.g., send an instruction to the pro-
example, the identification component 1110 can identify                duction component 110 of FIG. 1 to create the rendered map
unused advertisement locations in the map infonnation                  120 of FIG. 1).
1125, identify advertisements that can be replaced, as well as    55      In one embodiment, the outputted map 1220 can be
select advertisements for use (e.g., based on aggression               evaluated to detennine if approximations are appropriate. If
levels, personal history, contract fulfillment, and others).           approximations are appropriate, then the outputted map
Advertisement locations can include the placement of adver-            1220 can be transmitted (e.g., caused to be transmitted,
tisements in the physical area rendered by the map (e.g., a            caused to be rendered, caused to be created, and others). If
billboard actually present on a particular roadway), or pos-      60   an approximation is not appropriate, then the system 1200
sible advertisement locations that can be placed within the            can detennine how to correct the approximation (e.g.,
rendered map but do not exist in reality (e.g., a single-color         through implementation of an artificial intelligence tech-
grain silo with no ornamentation or writing).                          nique) and correct the approximation. Another check can
   The separation component 1115 can filter out map infor-             occur, this can repeat if appropriate, and the outputted map
mation not to be rendered, not to be considered in rendering,     65   1220 can be outputted. In one embodiment, approximations
and others. The generation component 1120 can take infor-              can be noted (e.g., in a file associated with the outputted map
mation produced out of the separation component 1115 and               1220) and as new map infonnation is gathered, the approxi-
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mations can be replaced with real map infonnation, approxi-               In one embodiment, a check is perfonned to detennine if
mations can be modified as new infonnation is available,               the database 1315 does not include the map 1320. However,
and others.                                                            the database 1315 may include a modern-day map of Nor-
   In one embodiment, the outputted map 1220, the video                mandy, France. The system 1300 can gather the modern-day
game output 630 of FIG. 6, the rendered map 120, and others            map ofNonnandy, France and collect historical infonnation
can be checked for accuracy after production. In one                   about Normandy, France on Jun. 6, 1944. The composition
example, the examination component 1105 can compare the                component 1210 can modifY (e.g., modify a local copy)
rendered map 120 of FIG. 1 against the map data set 115 of             and/or base a new map off the modern-day map of Nor-
FIG. 1 to determine if the rendered map 120 of FIG. 1 is an            mandy, France.
                                                                          In an embodiment, a map can exist, but not in a fonnat
accurate representation of the map data set 115 and/or actual     10
                                                                       intended for the desired game or application. For example,
location. If the rendered map 120 of FIG. 1 is not an accurate
                                                                       a map of Guadalcanal from Aug. 7, 1942 can exist as
representation, then the rendered map 120 of FIG. 1 can be
                                                                       designed one game, but is not usable by the user's game or
corrected, a subsequent rendered map can be generated, an              application. In this situation, the check can return positive
error message can be presented, etc. In one embodiment, to        15   that a map exists, but append infonnation noting the need for
avoid correction, the rendered map 120 of FIG. 1 can have              modification. Thereafter, various features described herein
a similarity threshold to the map data set 115 of FIG. 1 (e.g.,        can employ the map as a base map, or modifY the map
rendered map 120 of FIG. 1 is X % similar to the map data              according to the teachings herein, to utilize the map within
set 115 of FIG. 1).                                                    the user's desired context. In an embodiment, maps from
   In one example, a football video game can be released          20   other platforms can be rendered to an application-neutral
with an error (e.g., a rendered stadium can show a running             format, enabling immediate use or rapid adaptation for a
track around a field when a real stadium upon which the                variety of games and applications.
rendered stadium is based has no track). A user can submit                In one embodiment, the database 1315 is in a central
information that an error occurred, an inference can be                location. In one embodiment, the database 1315 is distrib-
drawn that users are using a map editor to correct the error,     25   uted across a network of nodes. In one embodiment, the
a comparison can be made with photographic evidence                    database 1315 is distributed across individual units (e.g.,
public ally available (e.g., off an Internet map application),         individual game consoles).
and others. A result can occur where new releases and/or                  FIG. 14 illustrates one embodiment of a network 1400.
existing releases can be updated correcting the error (e.g.,           The network 1400 can include a first game console 1405 and
updated automatically). In one example, a stadium can be          30   a second game console 1410. The first game console 1405
rendered correctly (e.g., as the rendered map 120 of FIG. 1),          and/or the second game console 1410 can incorporate the
but over a season or over time a change can occur. In one              analysis component 105 of FIG. 1, production component
example, lighting poles can be painted from one color to               110 of FIG. 1, the collection component 605 of FIG. 6,
another. When this infonnation is learned, an update can               and/or the render component 610 of FIG. 6 (e.g., a combi-
occur (e.g., occur proactively).                                  35   nation thereof). The first game console 1405 can retain a first
   FIG. 13 illustrates one embodiment of a system 1300 that            map 1415 and the second game console 1410 can retain a
includes the examination component 1105, the identification            second map 1420. The network 1400 can be a local network,
component 1110, the composition component 1210, and a                  a network over the Internet, and others. While shown with
database component 1305. The system 1300 can incorporate               two game consoles and two maps, it is to be appreciated that
the analysis component 105 of FIG. 1, production compo-           40   the network 1400 can include more than two game consoles,
nent 110 of FIG. 1, the collection component 605 of FIG. 6,            more than two maps, anyone particular game console can
and/or the render component 610 of FIG. 6. Map infonna-                retain more than one map, and others.
tion 1310 can be collected by the system 1300. The exami-                 The network 1400 can function such that individual game
nation component 1105 can analyze the map infonnation                  consoles can have access to a vast amount of maps while
1310 and based on this analysis, the identification compo-        45   retaining relatively few maps locally. In one example, the
nent 1110 can identifY map information 1310 that can be                first game console 1405 retains first map 1415 locally.
used to create a map 1320 (e.g., the rendered map 120 of               However, first game console 1405 can have access to the
FIG. 1 produced by the production component 110 of FIG.                second map 1420 retained on second game console 1410.
1).                                                                       In one embodiment, a player using first game console
   In one embodiment, the system 1300 is part of a network        50   1405 can request to play second map 1420. A permission
that shares a database 1315. The database 1315 can retain              and/or security check can occur and based on a positive
maps that can be made available to network members (e.g.,              result, the player can play second map 1420. In one example,
on a wired network, on a wifi network, on a super wifi                 a check is made to determine if the player using first game
network, and others). The map 1320 (e.g., the outputted map            console 1405 makes first map 1415 available to other game
1220 of FIG. 12, the rendered map 120 of FIG. 1, etc.) can        55   consoles. Sharing or exchange schemes can be enforced
be retained on the database 1315 (e.g., in addition to                 according to ratios, purchase, bargaining, trading, credits or
transferring the map to a designated destination).                     money, and other methods of map-swapping including user
   In one embodiment, the system 1300 can receive a request            preferences, map popularity and availability, resource inten-
for a map 1320 (e.g., a map ofNonnandy, France on Jun. 6,              sity or size, relationship or friend status, necessity (e.g., to
1944). A check can occur by the system 1300 (e.g., by the         60   play in a tournament or with friends), and a variety of other
examination component 1105) to detennine if the database               techniques. In an embodiment, one user can give a specific
1315 includes the map 1320. If the database 1315 does                  map away for free while another requires an exchange. In
include the map 1320, then the system 1300 is caused to                one embodiment, users are designated to offer the same map
output the map 1320 (e.g., cause the map 1320 to be sent               (or other infonnation) for the same value.
directly from the database 1315). If the database 1315 does       65      In one embodiment, the first map 1415 and the second
not include the map 1320, system 1300 can create the map               map 1420 are maps depicting a specific location (e.g., both
1320 (e.g., as the map of Normandy, France on Jun. 6,1944).            maps are of Lake Erie). The maps can be identical or be
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different (e.g., one map is of a higher quality than the second        meets a metric (e.g., is a student at the school, is underage,
map, the maps have contrasting infonnation, the first map              and others), and others. In one embodiment, the security
1415 is configured for a fishing game and has a relatively             component is integrated as part of the production component
large amount of fishing data while the second map 1420 is              110 of FIG. 1.
boating map that has a relatively large amount of wave                    The following methodologies are described with refer-
information, and others). A search can occur for a map of the          ence to figures depicting the methodologies as a series of
specific location. A component can detennine which map to              blocks. These methodologies may be referred to as methods,
access. In one example, if the maps are identical, then a              processes, and others. While shown as a series of blocks, it
component can select a map (e.g., a cheaper map can be                 is to be appreciated that the blocks can occur in different
selected, a map that can be downloaded faster can be              10   orders and/or concurrently with other blocks. Additionally,
selected, and others). In one example, if the maps are                 blocks may not be required to perform a methodology. For
different, then a component can select a map (e.g., if a player        example, if an example methodology shows blocks 1,2,3,
wants to used a searched map a fishing game, then the first            and 4, it may be possible for the methodology to function
map 1415 is selected; if the player wants to use the searched          with blocks 1-2-4, 1-2, 3-1-4, 2, 1-2-3-4, and others. Blocks
map in an first person shooter game, then a detennination         15   may be wholly omitted, re-ordered, repeated or appear in
can be made on which map can be more easily converted                  combinations not depicted. Individual blocks or groups of
and/or has more useful metadata (e.g., wave information that           blocks may additionally be combined or separated into
can impact travelling on the water) and that map can be                multiple components. Furthennore, additional and/or alter-
selected; and others).                                                 native methodologies can employ additional, not illustrated
   In one embodiment, second map 1420 is downloaded onto          20   blocks, or supplemental blocks not pictured can be
first game console 1405 and retained (e.g., saved after play           employed in some models or diagrams without deviating
is completed, temporarily retained until done playing, and/or          from the spirit of the features. In addition, at least a portion
others). In one embodiment, the first game console 1405 can            of the methodologies described herein may be practiced on
play the second map 1420 while keeping the second map                  a computer-readable medium storing computer-executable
1420 on the second game console 1410. In one embodiment,          25   instructions that when executed by a computer cause the
maps (e.g., first map 1415 and second map 1420) are                    computer to perform a methodology (e.g., method).
distributed among game consoles (e.g., first game console                 FIG. 15 illustrates one embodiment of a method 1500 that
1405 and second game console 1410) and/or other locations              includes retaining a video game content at a first location
(e.g., databases). In one embodiment, in response to a                 1505 and causing the video game content to be available to
request by a player on first game console 1405 to play            30   a second location 1510. The method 1500 can function in
second map 1420, second map 1420 can be retained on first              association with the network 1400 of FIG. 14. In one
game console 1405 and first map 1415 can be removed off                embodiment, the first game console 1405 of FIG. 14 can be
first game console 1405 and retained on second game                    the first location, the second game console 1410 of FIG. 14
console 1410 (e.g., first game console 1405 and second                 can be the second location, the first map 1415 of FIG. 14
game console 1410 switch locally-stored maps).                    35   and/or the second map 1420 of FIG. 14 can be the video
   In one embodiment, first map 1415 and second map 1420               game content. In one embodiment, the video game content
can be gaming maps for use in a shooter video game (e.g.,              (e.g., rendered map 120 of FIG. 1, video game output 630 of
first-person shooter). In one embodiment, first map 1415 and           FIG. 6, etc.) can be produced and then retained at 1505 by
second map 1420 can be based on real-world areas and                   the production component 110 of FIG. 1 (e.g., retained in a
rendered by the system 100 of FIG. 1. In one example, first       40   computer-readable medium, retained in a computer-readable
map 1415 can be used in a real-world combat simulation                 medium by a processor functioning as the production com-
game of a city in Iraq and second map 1420 can be used in              ponent 110 of FIG. 1). In one embodiment, the production
a fictional space invasion combat arcade game. The system              component 110 of FIG. 1 causes the video game content to
100 of FIG. 1 can use a component to modifY (e.g., intel-              be available at 1510.
ligently modifY) a map to make a map more game combat             45      In one embodiment, the first location 1505 is a first video
friendly. In an embodiment, first map 1415 can be used on              game console, the second location 1510 is a second video
first game console 1405 as a racing video game map, and                game console, and the first video game console is remote to
used on second game console 1410 as a shooter video game               the second video game console. In one embodiment, the
map. Features (e.g. resolution, detail, background interac-            video game content is distributed across the first location
tion, background behavior, and others) can be adjusted to         50   1505 and the second location 1510 and/or stored at the first
better accommodate the particular gaming (or other) context            location 1505 or second location 1510 alone. In one embodi-
to which a particular map is applied. In one embodiment, a             ment' the video game content is a video game map. In one
map can be converted from a first type (e.g., a shooter map)           embodiment, the video game content is created at the first
to a second type (e.g., a racing map).                                 location. In one embodiment, the video game content is
   A security component can be used to determine if ren-          55   created at the second location 1510. In one embodiment, the
dering should occur, to stop a rendering from occurring, and           video game content is created at a separate location (e.g., a
others. In one example, a child can request that a map be              computer system at a company office that is then sent to the
rendered of his school for a first-person shooter game. While          first location 1505). In one embodiment, the video game
the map may be rendered from available infonnation (e.g.,              content is a first video game content (e.g., the first map 1415
information from a map application, publically available          60   of FIG. 14) and where the second video game console (e.g.,
blueprints, photographs from a social networking site that             the second game console 1410 of FIG. 14) retains a second
show decorations, content from a school website, academic              video game content (e.g., the second map 1420 of FIG. 14)
or educational games and applications, and others), there              that is available to the first video game console (e.g., the first
may be a social desire to not enable a student to playa game           game console 1405 of FIG. 14).
where shootings can happen in school. Therefore, the secu-        65      FIG. 16 illustrates one embodiment of a method 1600 that
rity component can stop the rendering from occurring, report           includes retaining a video game content at the first location
the requested rendering, stop the rendering if the requestor           1505 of FIG. 15 and causing the video game content to be
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available to the second location 1510 of FIG. 15. At 1605,              In addition, a map can be rendered with a three-dimen-
a physical information set is obtained (e.g., in response for        sional component (e.g., render from ground level to 'x'
a video game content request from entered at the first               distance in the air). The selected area 1905 can designate a
location 1505 of FIG. 15). In one embodiment, the physical           third dimensional limit and/or one can be inferred. As
information is obtained by the collection component 605 of           described above, maps can be altered to fit a particular usage
FIG. 6. At 1610, the physical information set is evaluated.          context. For example, one usage can be entirely two-dimen-
This evaluation can be performed by the analysis component           sional, another can be three-dimensional wherein the third
105 of FIG. 1 and/or the examination component 1105 of               dimension is treated as background or environment, and still
FIG. 11. The video game content can be produced at 1615.             another usage context can involve travel through three
                                                                     dimensions wherein the third dimension is actively engaged
This production can be based, at least in part, on a result     10
                                                                     with the particular use.
from evaluating the physical information set at 1610. In one
                                                                        Additionally, an inference can be drawn on how to render
embodiment, this production can be performed by the pro-
                                                                     map boundaries (e.g., how high to make a third dimension).
duction component 110 of FIG. 1 and/or the render compo-             In one embodiment, a map can be rendered for a racing
nent 610 of FIG. 6.                                             15   game. In this embodiment, rendering can be limited to a
   FIG. 17 illustrates one embodiment of a method 1700 that          height of an upper limit of a car windshield. In one embodi-
resolves a difference between maps. At 1705, the method              ment' for specific situations (e.g., an in-game car flips over),
1700 can process maps (e.g., collect maps, evaluate maps,            a more generic setting can be shown (e.g., non-accurately
compare maps against one another, compare maps against               rendered, but resembling other scenery).
other information, and others). Based on map processing, a      20      FIG. 20 illustrates one embodiment of an interface 2000.
determination can be made on map differences at 1710 (e.g.,          A creation component can create the interface 2000 and the
if at least one map difference exists, why a map difference          interface can be disclosed (e.g., caused to be disclosed). In
exists, and others). At 1715, a determination can be made on         one embodiment, the creation component is part of the
how to resolve a map difference. This can include a sub-             system 1000 of FIG. 10 and the interface facilitates the
determination of whether to resolve the map difference,         25   request 1025 (e.g., by filling out the interface 2000, the
based on usage, location, user preference, etc. At 1720, a           request 1025 is generated). Disclosure of the interface 2000
resolution to resolve the map difference can be caused to            can occur in response to a command, in response to an
implement (e.g., send an instruction to the production com-          inference (e.g., conversation of players wishing they could
ponent 110 of FIG. 1 on how to create a map, the production          playa game on a particular circuit), and others. The creation
component 110 of FIG. 1 makes the resolution, etc.). In one     30   component can identifY information that could be beneficial
embodiment, a solution to resolve the map difference can be          in knowing to create a map and produce the interface 2000.
tested before implementation.                                        In one embodiment, a person creates the interface 2000 (e.g.,
   FIG. 18 illustrates one embodiment of a method 1800 that          a programmer, a player, and others). At least some fields of
causes a map to be made (e.g., a new map to be created, a            the interface 2000 can be populated with data and based, at
map to be modified, a map to be replaced, and others).          35   least in part, on the data a map can be rendered.
Information (e.g., the map data set 115 of FIG. 1) can be               FIG. 21 illustrates one embodiment of a system 2100 that
collected at 1805. Information can include map application           may be used in practicing at least one aspect disclosed
information, request information, information found off the          herein. The system 2100 includes a transmitter 2105 and a
Internet and others. Information can be collected passively          receiver 2110. In one or more embodiments, the transmitter
(e.g., sent to a computer-readable medium operating the         40   2105 can include reception capabilities and/or the receiver
method 1800) and/or actively (e.g., the computer-readable            2110 can include transmission capabilities. In one embodi-
medium operating the method 1800 seeks out information).             ment, the system 100 of FIG. 1 includes the transmitter 2105
   The information can be analyzed at 1810. At 1815, a               and/or the receiver 2110. In one embodiment, the receiver
determination can be made on how to make a map (e.g.,                2110 integrates with and/or functions as the collection
based on a result of the analysis). In one embodiment, the      45   component 605 of FIG. 6 and the transmitter 2105 integrates
information collected at 1805 includes instructions and/or           with and/or functions as the render component 610 of FIG.
format data for a device that may ultimately use the map. At         6. In one embodiment, the system 100 of FIG. 1 and/or the
1820, a map can be caused to be made (e.g., according to a           system 600 of FIG. 6 integrate with the system 2100 on a
manner determined at 1815). In one embodiment, the map               mobile device.
can be made and caused to be displayed, caused to be used       50      The transmitter 2105 and receiver 2110 can each function
in an application (e.g., software application), and others.          as a client, a server, and others. The transmitter 2105 and
   FIG. 19 illustrates one embodiment of a town grouping             receiver 2110 can each include a computer-readable medium
1900. The town grouping 1900 can include various towns               used in operation. The computer-readable medium may
(e.g., Towns A-I). In one example, the town grouping 1900            include instructions that are executed by the transmitter
represents a larger organization (e.g., Towns A-I form a        55   2105 or receiver 2110 to cause the transmitter 2105 or
county J).                                                           receiver to perform a method. The transmitter 2105 and
   An interface can be presented to a person that enables the        receiver 2110 can engage in a communication with one
person to designate an area for rendering (e.g., by the              another. This communication can over a communication
production component 110 of FIG. 1, by the render com-               medium. Example communication mediums include an
ponent 610 of FIG. 6, etc.). In one example, the person can     60   intranet, an extranet, the Internet, a secured communication
access a personal computer and use a mouse and keyboard              channel, an unsecure communication channel, radio air-
to designate a selected area 1905. A map of the selected area        waves, a hardwired channel, a wireless channel, and others.
1905 can be rendered and transferred (e.g., to a personal            Example transmitters 2105 include a base station, a personal
computer, to a game console, to a computer-readable                  computer, a cellular telephone, a personal digital assistant,
medium, and others). While shown as a rectangle, it is to be    65   and others. Example receivers 2110 include a base station, a
appreciated that the selected area can be various shapes             cellular telephone, personal computer, personal digital assis-
and/or arrangements.                                                 tant, and others. The example system 2100 may function
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along a Local Access Network (LAN), Wide Area Network                   representative apparatus, and illustrative examples shown
(WAN), and others. The aspects described are merely an                  and described. Thus, this application is intended to embrace
example of network structures and intended to generally                 alterations, modifications, and variations that fall within the
describe, rather than limit, network and/or remote applica-             scope of the appended claims.
tions of features described herein.                                        Functionality described as being performed by one entity
   FIG. 22 illustrates one embodiment of a system 2200,                 (e.g., component, hardware item, and others) may be per-
upon which at least one aspect disclosed herein can be                  formed by other entities, and individual aspects can be
practiced. In one embodiment, the system 2200 can be                    performed by a plurality of entities simultaneously or oth-
considered a computer system that can function in a stand-              erwise. For example, functionality may be described as
alone manner as well as communicate with other devices             10   being performed by a processor. One skilled in the art will
(e.g., a central server, communicate with devices through               appreciate that this functionality can be performed by dif-
data network (e.g., Internet) communication, etc). Informa-             ferent processor types (e.g., a single-core processor, quad-
tion can be displayed through use of a monitor 2205 and a               core processor, etc.), different processor quantities (e.g., one
user can provide information through an input device 2210               processor, two processors, etc.), a processor with other
(e.g., keyboard, mouse, touch screen, etc.). In one embodi-        15   entities (e.g., a processor and storage), a non-processor
ment, the monitor 2205 displays the interface 2000 of FIG.              entity (e.g., mechanical device), and others.
20. A connective port 2215 can be used to engage the system                In addition, unless otherwise stated, functionality
2200 with other entities, such as a universal bus port,                 described as a system may function as part of a method, an
telephone line, attachment for external hard drive, and the             apparatus, a method executed by a computer-readable
like. Additionally, a wireless communicator 2220 can be            20   medium, and other embodiments may be implemented in
employed (e.g., that uses an antenna) to wirelessly engage              other embodiments. In one example, functionality included
the system 2200 with another device (e.g., in a secure                  in a system may also be part of a method, apparatus, and
manner with encryption, over open airwaves, and others). A              others.
processor 2225 can be used to execute applications and                     Where possible, example items may be combined in at
instructions that relate to the system 2200. In one example,       25   least some embodiments. In one example, example items
the processor 2225 executes at least one instruction associ-            include A, B, C, and others. Thus, possible combinations
ated with at least one of the analysis component 105 of FIG.            include A, AB, AC, ABC, AAACCCC, AB, ABCD, and
1 or the production component 110 of FIG. 1. In one                     others. Other combinations and permutations are considered
example, the processor 2225 executes at least one instruc-              in this way, to include a potentially endless number of items
tion associated with at least one of the collection component      30   or duplicates thereof.
605 of FIG. 6 or the render component 610 of FIG. 6.                       What is claimed is:
Storage can be used by the system 2200. The storage can be                 1. A system, that is at least partially hardware, comprising:
a form of a computer-readable medium. Example storage                      an identification component configured to identifY a rac-
includes random access memory 2230, read only memory                          ing area for a vehicle set with a tire set in a racing video
2235, or nonvolatile hard drive 2240. In one embodiment, a         35         game;
memory (e.g., at least one of the random access memory                     a check component configured to determine an action set
2230, read only memory 2235, and/or the nonvolatile hard                      of the vehicle set that causes a renmant of the tire set
drive 2240) retains instructions that cause a method dis-                     to be laid upon the racing area;
closed herein to operate. In one embodiment, the memory                    a determination component configured to determine
retains a database in accordance with at least one aspect          40         where to place the renmant of the tire set on the racing
disclosed herein.                                                             area based, at least in part on the action set of the
   The system 2200 may run program modules. Program                           vehicle set; and
modules can include routines, programs, components, data                   a modification component configured to make an altera-
structures, logic, etc., that perform particular tasks or imple-              tion to the racing area such that the renmant impacts
ment particular abstract data types. The system 2200 can           45         performance of the vehicle set.
function as a single-processor or multiprocessor computer                  2. The system of claim 1,
system, minicomputer, mainframe computer, laptop com-                      where the vehicle set comprises a first vehicle with a first
puter, desktop computer, hand-held computing devices,                         tire set and a second vehicle with a second tire set,
microprocessor-based or programmable consumer electron-                    where the tire set comprises the first tire set and the
ics, and the like.                                                 50         second tire set,
   It is to be appreciated that aspects disclosed herein can be            where the renmant is a renmant from the first tire set, and
practiced through use of artificial intelligence techniques. In            where the second vehicle is impacted by the renmant from
one example, a determination or inference described herein                    the first tire set.
can, in one embodiment, be made through use of a Bayesian                  3. The system of claim 2, comprising:
model, Markov model, statistical projection, neural net-           55      an collection component configured to collect an first
works, classifiers (e.g., linear, non-linear, etc.), using prov-              indicator of a first action of the first vehicle in the
ers to analyze logical relationships, rule-based systems, or                  racing video game that causes the renmant from the
other technique.                                                              first tire set to be laid upon the racing area from a first
   While example systems, methods, and so on have been                        playing location and configured to collect a second
illustrated by describing examples, and while the examples         60         indicator of a second action of the second vehicle in the
have been described in considerable detail, it is not the                     racing video game that causes a renmant from the
intention of the applicants to restrict or in any way limit the               second tire set to be laid upon the racing area from a
scope of the appended claims to such detail. It is, of course,                second playing location; and
not possible to describe every conceivable combination of                  a broadcast component configured to broadcast the racing
components or methodologies for purposes of describing the         65         area with the alteration in accordance with the renmant
systems, methods, and so on described herein. Therefore,                      from the first tire set and the renmant from the second
innovative aspects are not limited to the specific details, the               tire set to the first playing location and configured to
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   broadcast the racing area with the alteration in accor-          10. The system of claim 9,
   dance with the remnant from the first tire set and the           where the modification component causes the first portion
   remnant from the second tire set to the second playing             of the racing surface to implemented with the changed
   location,                                                          first temperature without a change to the second portion
where the first playing location and the second playing               of the racing surface and
   location are remote to one another.                              where operation of the vehicle causes virtual rubber to be
4. The system of claim 2,                                             placed on the racing surface that impacts performance
where the first vehicle and the second vehicle are human-             of the vehicle.
   controlled vehicles competing against one another in an          11. The system of claim 9,
                                                                    where the vehicle is a first vehicle,
   online gaming session.                                     10
                                                                    where the racing video game session is an online racing
5. The system of claim 2,
                                                                      video game session between at least a first player
where the first vehicle and the second vehicle are human-
                                                                      playing at a first gaming apparatus and a second player
   controlled vehicles competing against one another in a             playing at a second gaming apparatus,
   single-console gaming session.                             15    where the first player controls the first vehicle,
6. The system of claim 2,                                           where the second player controls a second vehicle,
where the first vehicle is a human-controlled vehicle               where an action by the second vehicle produces a first
   competing in an single-console gaming session and                  response when the racing surface is at the first tem-
where the second vehicle is a console-controlled vehicle              perature,
   competing in the single-console gaming session.            20    where the action by the second vehicle produces a second
7. The system of claim 1,                                             response when the racing surface is at the changed first
where the vehicle set comprises exclusively one vehicle,              temperature, and
where the remnant is laid on a previous lap,                        where the first response and the second response are not
where the vehicle is impacted on a subsequent lap, and                identical.
where the previous lap and the subsequent lap are part of 25        12. The system of claim 9,
   a single racing session.                                         where the vehicle is a first vehicle,
8. A system, that is at least partially hardware, comprising:       where the racing video game session is a racing video
an identification component configured to identify a rac-             game session between at least a first player playing at
   ing surface of a racing circuit in a racing video game             a gaming apparatus and a second player playing at the
   during a racing video game session;                        30
                                                                      gaming apparatus,
                                                                    where the first player controls the first vehicle,
a detennination component configured to determine a first
                                                                    where the second player controls a second vehicle,
   temperature for a first portion of the racing surface and
                                                                    where an action by the second vehicle produces a first
   a second temperature for a second portion of the racing
                                                                      response when the racing surface is at the first tem-
   surface; and                                               35      perature,
a modification component configured to cause the first              where the action by the second vehicle produces a second
   portion of the racing surface to implement with the first          response when the racing surface is at the changed first
   temperature and the second portion of the racing sur-              temperature, and
   face to implement with the second temperature,                   where the first response and the second response are not
where the first temperature and the second temperature 40             identical.
   are different temperatures,                                      13. The system of claim 9,
where the first portion of the racing surface and the second        where the vehicle is a gaming-apparatus controlled
   portion of the racing surface do not overlap one                   vehicle,
   another,                                                         where the racing video game session is a racing video
where the first portion of the racing surface being at the 45         game session between at least a player-controlled
   first temperature causes a vehicle of the racing video             vehicle and the gaming apparatus controlled vehicle,
   game to have a first response to an action,                      where an action by the player-controlled vehicle produces
where the second portion of the racing surface being at the           a first response when the racing surface is at the first
   second temperature causes the vehicle of the racing                temperature,
   video game to have a second response to the action, and 50       where the action by the player-controlled vehicle pro-
where, due to the difference in temperature, the first                duces a second response when the racing surface is at
                                                                      the changed first temperature, and
   response and the second response are not identical.
                                                                    where the first response and the second response are not
9. The system of claim 8, comprising:
                                                                      identical.
a monitor component configured to monitor an operation 55
                                                                    14. The system of claim 8,
   of the vehicle as the vehicle traverses the racing sur-          where the first temperature is derived, at least in part, from
   face; and                                                          a first level of virtual sun exposure to the first portion,
an evaluation component configured to evaluate the                  where the first temperature is derived, at least in part, from
   operation to produce an evaluation result;                         a second level of virtual sun exposure to the second
where the determination component is configured to 60                 portion, and
   determine a change to the first temperature based, at            where the first level of virtual sun exposure and the
   least in part, on the evaluation result,                           second level of virtual sun exposure are not identical.
where the modification component is configured to cause             15. A system, that is at least partially hardware, compris-
   the first portion of the racing surface to implemented        ing:
   with the changed first temperature and                     65    an identification component configured to identify a
where the changed first temperature is different from the             change in a temperature of a racing surface in a racing
   first temperature.                                                 video game;
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                          31                                        32
a determination component configured to determine an
  impact of the change in the temperature of the racing
  surface; and
a modification component configured to make an altera-
  tion to the racing surface in accordance with the impact
  of the change in the temperature,
where the alteration influences performance of a vehicle
  in the racing video game.
16. The system of claim 15,
where the change in temperature occurs during a single         10
  racing video game race.
17. The system of claim 16,
where the single racing video game race is an online
  single racing video game race,
where a first competitor competes in the online single         15
  racing video game race from a first local console,
where a second competitor competes in the online single
  racing video game race from a second local console,
where the first local console and the second local console
  communicate with a remote server that hosts the single       20
  racing video game race.
18. The system of claim 16,
where the single racing video game race is solo human-
  player single racing video game race.
19. The system of claim 16,                                    25
where the change in the temperature is produced, at least
  in part, by the vehicle travelling over the racing surface
  during the single racing video game race.
20. The system of claim 15,
where the change in temperature occurs between a first         30
  racing video game race and a second racing video game
  race.

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